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                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION

AARON CARR,                               )
                                          )
       Petitioner,                        )
                                          )
v.                                        )   Case No. 5:21-cv-1592-LCB-GMB
                                          )
WARDEN TONEY, et al.,                     )
                                          )
       Respondents.                       )

                                     ORDER
      On January 21, 2022, the Magistrate Judge recommended that this action be

dismissed for Petitioner Aaron Carr’s failure to prosecute. (Doc. 3 at 2). The

Magistrate Judge advised Carr that he had 14 days to file objections. Id. On January

26, 2022, Carr filed a motion for a 20-day extension to comply with the Court’s order

to correct his deficient pleading. (Doc. 4 at 1). More than 20 days have elapsed, and

Carr has not amended his petition or otherwise respond to the Magistrate Judge’s

recommendation. Accordingly, the Court ADOPTS the recommendation (Doc. 3)

and DISMISSES this action without prejudice for Carr’s failure to prosecute.

      DONE and ORDERED March 7, 2022.



                                   _________________________________
                                   LILES C. BURKE
                                   UNITED STATES DISTRICT JUDGE
